      Case 3:24-cv-01865-RDM       Document 18        Filed 10/31/24   Page 1 of 6




                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 1789 FOUNDATION, INC. d/b/a CITIZEN              :           No. 3:24-cv-1865
 AG and ANTHONY GOLEMBIEWSKI                      :
              Plaintiffs                          :
                                                  :
                       v.                         :            (Judge Mariani)
                                                  :
 AL SCHMIDT, in his official capacity as          :
 Secretary of State and COMMONWEALTH              :
 OF PENNSYLVANIA                                  :
                  Defendants                      :    Electronically Filed Document

  COMMONWEALTH OF PENNSYLVANIA’S BRIEF IN OPPOSITION TO
   PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER
      Pursuant to Local Rule 7.6, the Commonwealth of Pennsylvania, by and

through counsel, hereby submits this Brief in Opposition to Plaintiffs’ Emergency

Motion (Doc. 3) for a Temporary Restraining Order (“TRO”) and Preliminary

Injunction. If Defendant’s motion is successful, the TRO will be denied and the

Commonwealth will be dismissed as a party.

                                 INTRODUCTION

      Plaintiffs 1789 Foundation, Inc. d/b/a Citizen AG as well as Anthony

Golembiewski have moved to enjoin the Defendants – the Secretary of State and

the Commonwealth – from refusing to make available records requested pursuant

to a state right to know law request. Plaintiffs have presented their state law claim

to this Court by claiming that the National Voter Registration Act of 1993


                                          1
      Case 3:24-cv-01865-RDM        Document 18      Filed 10/31/24   Page 2 of 6




(“NVRA”), 52 U.S.C. §§ 20501, et seq., requires Pennsylvania to maintain

accurate voter registration list and, by failing to timely respond to their right to

know request, Plaintiffs are unable to confirm if the Commonwealth is in

compliance with the NVRA.

      Because the right to know request was directed to the Secretary of State

(Doc. 1-4) the Plaintiffs have mis-joined the Commonwealth and any requested

relief sought through the TRO must be denied. Because the Court has requested an

expedited briefing schedule, the Commonwealth, through this opposition, requests

that the Plaintiffs’ Motion be denied and that the Complaint is dismissed as against

the Commonwealth.

                             PROCEDURAL HISTORY

      On October 29, 2024, Plaintiffs filed a Complaint (Doc. 1) and an

Emergency Motion for a Temporary Restraining Order (Doc. 3). The Court held a

telephone conference on October 31st and provided the parties with an expedited

briefing schedule to address the pending pleadings.

                              STATEMENT OF FACTS

      On October 4, 2024 Citizen AG submitted a right-to-know request to the

Secretary of State. (Doc. 1 at 3; Doc. 1-4). Citizen AG receive a response from the

Secretary of State, as permitted by the Pennsylvania Right-to-Know Law, seeking

additional time to respond to the request, identifying that a final written response

                                           2
       Case 3:24-cv-01865-RDM          Document 18       Filed 10/31/24     Page 3 of 6




would be provided by November 12, 2024. (Doc. 1 at 3; Doc. 1-5). Citizen AG

avers that the Secretary of State has miscalculated its final determination deadline

and have construed the Secretary’s response as a denial of records.

                      STATEMENT OF QUESTION INVOLVED

       Whether Plaintiffs’ Motion should be denied because they have failed to

meet their burden in demonstrating a reasonable probability of success in this

litigation as against the Commonwealth, an entity which is not otherwise an

indispensable party to this action?

       Suggested answer: Yes the Motion should be denied. In addition, because

the Commonwealth is not an indispensable party to this action, the Complaint

should be dismissed as against it.

                                       ARGUMENT

       In order to obtain a temporary restraining order or preliminary injunction,

the moving party must show: (1) a reasonable probability of eventual success in the

litigation, and (2) that it will be irreparably injured . . . if relief is not granted . . . .

[In addition,] the district court, in considering whether to grant a preliminary

injunction, should take into account, when they are relevant, (3) the possibility of

harm to other interested persons from the grant or denial of the injunction, and (4)

the public interest. Reilly v. Cty. of Harrisburg, 858 F.3d 173, 176 (3d Cir. 2017).

The movant bears the burden of establishing “the threshold for the first two most

                                               3
      Case 3:24-cv-01865-RDM        Document 18      Filed 10/31/24    Page 4 of 6




critical factors . . . . If these gateway factors are met, a court then considers the

remaining two factors and determines in its sound discretion if all four factors,

taken together, balance in favor of granting the requested preliminary relief.” Id. at

179. A court may issue an injunction to a plaintiff “only if the plaintiff produces

evidence sufficient to convince the district court that all four factors favor

preliminary relief.” AT&T v. Winback & Conserve Program, 42 F.3d 1421, 1427

(3d Cir. 1994).

      Here, Plaintiffs cannot be successful on their claims against the

Commonwealth as an entity because they have mis-joined the Commonwealth to

this action. Plaintiffs seek relief through the TRO in the form of an injunction that

would: (1) require documents to be produced following Plaintiffs October 4th

Right-to-Know request; and (2) prevent individuals from voting if they have not

otherwise complied with the NVRA. The Commonwealth, however, cannot

provide either forms of the requested relief.

      Plaintiffs have averred that they submitted a right-to-know request to the

Secretary of State; an entity which would provide the requested records if

otherwise permitted under Pennsylvania’s Right-to-Know Law. Additionally, the

accepting and counting of ballots is completed by Pennsylvania’s individual

county Board of Elections, not the Commonwealth. Because the Commonwealth

cannot provide either forms of requested relief and because Plaintiffs have

                                            4
      Case 3:24-cv-01865-RDM       Document 18     Filed 10/31/24   Page 5 of 6




otherwise failed to demonstrate through their averments that the Commonwealth,

as a separate entity, is necessary for a just adjudication the requested TRO, as

against the Commonwealth, should be denied and the Complaint, as against the

Commonwealth, should be dismissed.

                                  CONCLUSION

      Because the Commonwealth is not an indispensable party in this action and

cannot provide the requested relief, the Commonwealth, through this opposition,

requests that the Plaintiffs’ Motion be denied and that the Complaint be dismissed.

                                              Respectfully submitted,

                                              MICHELLE A. HENRY
                                              Attorney General

Date: October 31, 2024                 By:    s/ Nicole R. DiTomo
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                                          5
      Case 3:24-cv-01865-RDM       Document 18    Filed 10/31/24   Page 6 of 6




                          CERTIFICATE OF SERVICE

      I, Nicole R. DiTomo, Chief Deputy Attorney General, Office of Attorney

General, hereby certify that on October 31, 2024, I caused to be served a true and

correct copy of the foregoing document titled Commonwealth’s Opposition to

Plaintiffs’ Motion for TRO to the following:

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